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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         CASE NO. 2:17-CR-155-TLN
12                                Plaintiff,
                                                       UNITED STATES’ SENTENCING
13                         v.                          MEMORANDUM
14   PABLO VARGAS,
                                                       DATE: February 7, 2022
15                               Defendant.            TIME: 9:30 a.m.
                                                       COURT: Hon. Troy L. Nunley
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17          At the upcoming sentencing for defendant Pablo Vargas, the United States will recommend that
18 the Court sentence him to the low-end of the guideline range, as determined by the Court, but which the

19 United States estimates to be 135 months. The United States also supports the PSR’s recommendation
20 for a five-year term of supervised release.

21                                             I.   DISCUSSION
22          A.     Sentencing Recommendations
23                 1.      Imprisonment: 135 months
24          The United States recommends that the Court impose a sentence at the low-end of the guideline
25 range. See Plea Agreement, Section III.B (ECF No. 170) at 4. The PSR calculated the low-end of the

26 guideline range to be 168 months, without the benefit of the safety valve’s two-level reduction.

27 PSR ¶ 79. Recently, however, Vargas and his attorney spoke with the undersigned attorney for the

28 United States and, from the government’s point of view, Mr. Vargas has now met the requirements of


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 1 United Stated Sentencing Guidelines (U.S.S.G.) Section 5C1.2(a)(5). As a result—and per its

 2 obligations under the Plea Agreement—the government recommends that Vargas receive the two-level

 3 reduction included in U.S.SG. § 2D1.1(b)(17), if the Court finds that he is eligible under the remaining

 4 criteria of U.S.S.G. § 5C1.2(a)(1)-(4). With the application of safety valve relief, the government

 5 estimates the resulting guideline range to be 135-168 months.

 6          A sentence at the low end of this range is sufficient, but not greater than necessary, to comply
 7 with the purposes set forth in paragraph (2) of 18 U.S.C. § 3553(a). The defendant is responsible for

 8 moving a significant amount of drugs during the deals in this case. The evidence indicates he was doing

 9 it for profit and little else. Contrary to his contention that he sold the drugs as a favor to his cousin, Luis
10 Nunez, the evidence shows that Vargas was well-entrenched in the drug world already. Indeed, Nunez

11 referred the FBI’s Confidential Source (CS) to Vargas because Nunez knew that Vargas could supply

12 the drugs the CS was seeking. 1 PSR ¶ 9. When Nunez first put the CS on the telephone with Vargas,

13 Vargas did not react with surprise or confusion as to why he had been called about drugs. Id. Instead,

14 he spoke with the CS about future drug buys, about potential quantities and prices, and about possible

15 discounts if the CS was willing to drive to Indio to collect the drugs. Id. From that point forward, the

16 CS dealt with Vargas exclusively. In the negotiations with the CS that followed, Vargas discussed

17 getting significant amounts of cocaine and methamphetamine from Mexico. Id. ¶ 9-12. Vargas told the

18 CS that he had a “boss” with whom he consulted on drug prices and who supplied Vargas with drugs to

19 sell. Id. ¶ 10-12. Ultimately, Vargas sold the CS 104 grams of cocaine and planned to sell the CS 15
20 pounds of methamphetamine, at the time Vargas was arrested. Id. ¶ 12. These are not quantities sold by

21 first-time distributors. The drug quantities involved and the sizable amount of cash found at Vargas’

22 house indicate long-term work distributing drugs. Id. ¶ 16. Had Vargas lived a life free from drugs until

23 that point, there is no reason he would be so fluent in the language of distribution and no reason Nunez

24 would have called him in the first place. Vargas’ contention that this case results from a one-time

25 mistake, borne of naivety and a misplaced sense of familial obligation, is not persuasive.

26          The government acknowledges that Vargas comes to this case with no recorded criminal history,
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           There is no indication in the evidence that Nunez was in any kind of legal trouble or that
28 Vargas’ selling drugs to the CS was motivated by family pressure.


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 1 and no known history of violence. PSR ¶ 37. This light history allows him the benefit of eligibility for

 2 the safety valve’s two-level reduction to his guideline range, which is appropriate. His pleading guilty

 3 has reduced his offense level by a further three points.

 4          The remainder of the sentencing reductions for which he argues, however, (despite the fact that
 5 none of them appear in the plea agreement’s estimated guidelines calculations, to which Vargas agreed)

 6 are not applicable. Def’s Sentencing Memorandum (ECF No. 183) at 2-3. Given his role as the

 7 primary drug supplier in this case—coordinating the buys, relaying prices, taking payment, etc.—there

 8 is no room for Vargas to argue that he played a minor role. He was dialed into the process completely.

 9 As for the four-level “Fast Track” reduction, the Sentencing Guidelines do not provide for application of
10 a Fast Track resolution in drug distribution cases like this and certainly not when the defendant has

11 pleaded guilty nearly four years after indictment. 2 Vargas has not offered any authority suggesting

12 otherwise. Finally, the government has never heard of a two-level reduction for a “Covid Downward

13 Departure.” There is no explanation as to what that means or why it would apply to Vargas. Moreover,

14 Vargas did not submit any objections to the PSR to explain why the foregoing sentencing reductions

15 should apply. Rightly, the PSR does not include them. Vargas has fulfilled the fifth safety valve

16 requirement, but he did so relatively recently, so the government does not object to its application at

17 sentencing, even though Vargas filed no objection to argue for its consideration.

18          A 135-month term of imprisonment is an appropriate punishment for the defendant’s conduct in
19 this case. It reflects the seriousness of the instant offense and promotes respect for the law by sending a
20 clear message that participating in large scale drug distribution will not be tolerated. In that way, it

21 affords adequate deterrence, both specific and general.

22                  2.      Supervised release: Five years
23          The government supports the PSR’s recommendation of a five-year supervised release term.
24 Supervised release will provide Vargas with the resources to assist his reintegration into society once he

25 is released from prison.

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           Moreover, for the Fast Track reduction to apply in any case, the government has to file a
28 motion asking the Court to consider it. There is no such motion here.


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 1                 3.      Fine
 2          The Probation Office has determined that the defendant does not have the ability to pay a fine,

 3 assuming the Court issues an order of forfeiture. See PSR ¶ 64. The United States has no evidence to

 4 dispute this determination and therefore does not argue for the imposition of a fine. As Vargas has

 5 pleaded to a felony count, however, there will be a $100 special assessment.

 6          B.     Dismissal of Counts
 7          At the conclusion of the hearing, the government will move the Court to dismiss without

 8 prejudice the remaining count against Vargas, Count Two, of the pending indictment. Plea Agreement,

 9 Section III.A. at 4.
10                                         II.      CONCLUSION

11          For the reasons given above, the government respectfully recommends that the Court impose a

12 sentence including a 135-month term of imprisonment; a five-year term of supervised release; and a

13 $100 special assessment.

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15   Dated: February 7, 2022                                PHILLIP A. TALBERT
                                                            United States Attorney
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17                                                          /s/ James R. Conolly
                                                            JAMES R. CONOLLY
18                                                          Assistant United States Attorney
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